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                       Exhibit 9
             Case 4:07-cv-05944-JST Document
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   B O I E S ,              S C H I L L E R                &      F L E X N E R                 L L P
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                                              September 20, 2013


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                      Re:    In re Cathode Ray Tube (CRT) Antitrust Litigation,
                             Case No. 07-cv-5944-SC (N.D. Cal.)

      Dear Counsel:

             This letter follows up on the plaintiffs’ August 7, 2013 meet and confer with Samsung
      SDI regarding production of the unpublished European Commission opinion, pertaining to the
      EC’s fine of your clients and other conspirators for involvement in the CRT cartels.

              Following the meet and confer, counsel for Samsung SDI sent an EC letter from the In re
      Air Cargo Shipping Services Antitrust Litigation case, which the plaintiffs discussed in our meet
      and confer with Samsung SDI. We acknowledge the contents of that letter, but our position
      regarding the defendants’ obligations is unchanged. The EC’s opinion regarding the CRT
      conspiracy falls squarely within the plaintiffs’ discovery requests, which specifically called for
      “[a]ll Documents relating to . . . or received from . . . the European Commission . . . .” See
      DPPs’ Second Set of Requests for Production, Request 34. Moreover, as the EC fined Samsung
      SDI for its participation in a “worldwide” CRT conspiracy, the requested EC opinion is directly
      relevant to the plaintiffs’ claims in this action. See European Commission, “Antitrust:
      Commission fines producers of TV and computer monitor tubes € 1.47 billion for two decade-
      long cartels” (Dec. 5, 2012), available at http://europa.eu/rapid/press-release_IP-12-
      1317_en.htm. As such, the defendants are required to produce this letter. If the EC chooses to
      take the same position in this litigation that it took in Air Cargo, we can litigate the issue before
      Judge Conti when appropriate. It has been, however, nine months since the EC issued its
      decision and we have seen nothing regarding a public version.




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Counsel
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       Counsel’s previous letter was addressed only to Samsung SDI. We direct this letter to all
of the parties to the In re CRT case who were parties to the European proceeding. Please
produce the opinion we are requesting, in response to our discovery, or let us know if we are at
impasse.

                                                   Sincerely,

                                                   /s/ Philip J. Iovieno

                                                   Philip J. Iovieno

                                                   Liaison Counsel for the Direct
                                                   Action Plaintiffs



cc:    Direct Purchaser Plaintiffs’ Counsel
       Indirect Purchaser Plaintiffs’ Counsel




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